Case 2:05-cv-02362-SHI\/|-dkv Document 2 Filed 06/01/05 Page 1 of 3 Page|D 9

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UNITED sTATEs or AMERICA, W.D- O'F TN. MEMPH:S

Plaintiff,

vs. Cv. NO. 05-2362-Ma/V

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PETER MATHIS, JR. ,

Defendant.

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ORDER DIRECTING CLERK TO COMPLY WITH
JUDGE DONALD’S MAY 9, 2005 ORDER

 

Defendant Peter Mathis, Jr., Bureau of Prisons inmate
registration number 143l8-076, an inmate at the Federal Correctional
lnstitution in Memphis, filed an irregular motion, entitled “Motion
Requesting Relief Pursuant to Federal Rules of Civil Procedure Rules
60(b)(6),” in his closed criminal case on January 20, 2005 that, in
effect, requested that his motion pursuant to 28 U.S.C. § 2255 be
reopened. District Judge Bernice B. Donald issued an order on May 9,
2005 that provided, in pertinent partr as follows:

Under Sims, the Court construes the successive motion

as a request for certification of` a successive motion.
Accordingly, it is hereby ordered pursuant to Sims and 28
U.S.C. § 163l that the Clerk of Court remove the motion
(docket entry l69) from this criminal case, docket the
motion as a new case, and transfer it to the United States
Court of Appeals for the Sixth Circuit. The Clerk shall
place a copy of this order in the new case as well as this

criminal case.

05/09/05 Order at 7.

Ti»is document entered on the docket sheet in comp1'lanca
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with Ru*.e 58 and/or 79(a) FHCP on -

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ln response to Judge Donald's order, the clerk docketed the
defendant's motion as a new civil action and assigned it to this
judge, who had no previous involvement in the defendant’s criminal
case. The Clerk did notr however, docket a copy Of Judge Donald’s May
9, 2005 order in the new case file and did not transfer the case to
the Sixth Circuit pursuant to 28 U.S.C. § 2244(}:)}(3).1

The Clerk is ORDERED, forthwith, to comply with each and
every aspect of Judge Donald’s May 9, 2005 order. The transmission to
the Sixth Circuit shall include a copy of Judge Donald’s May 9, 2005
order.

IT rs so 0RDERED this 3‘5‘|" day Of May, 2005.

sewage

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

1 A review of the criminal docket indicates that the Clerk also has not
complied with Judge Donald's directive that the September 24, 2004 order be mailed

to the defendant at his address of record.

2

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02362 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

Peter Mathis
14318-076

F.C.I. Memphis

P.O. Box 34550
l\/lemphis7 TN 38184

Honorable Samuel Mays
US DISTRICT COURT

